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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

 ___________________________________________

 SHARI FIORE,                                                     CASE NO.: ___________

                Plaintiff,
                                                                 PLAINTIFF DEMANDS A
        v.                                                       TRIAL BY JURY

 HEALTHTRUST WORKFORCE
 SOLUTIONS, LLC,

             Defendant.
 ___________________________________________
                 COMPLAINT AND DEMAND FOR JURY TRIAL

         Plaintiff, SHARI FIORE (“Plaintiff” and/or “Ms. FIORE”) in the above styled cause

  hereby sues Defendant HEALTHTRUST WORKFORCE SOLUTIONS, LLC (“Defendant”

  and/or “HealthTrust”), and hereby files and serves her Complaint and Demand For Jury Trial

  and alleges as follows:

                                           NATURE OF CASE

 1.     This employment discrimination case is about an employer who subjected its older and disabled

        employee to harassment, discrimination, and retaliation at the cost of her physical health, before

        ultimately culminating in the unlawful termination of the employee.

 2.     Plaintiff FIORE brings this action pursuant to the Americans with Disabilities Act, 42 U.S.C. §§

        12101, et seq. (“ADA”), the Age Discrimination in Employment Act 29 U.S.C. §621 et seq.

        (“ADEA”), and the Family Medical Leave Act, 29 U.S.C. § § 2601–2654 (“FMLA”).

 3.     Ms. FIORE seeks monetary relief to redress Defendant’s unlawful employment practices in

        violation of the ADA, the ADEA, and the FMLA. Additionally, this action seeks to redress

        Defendant’s deprivation of Ms. FIORE’s personal dignity and her civil right to pursue equal

        employment opportunities.
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 4.    Throughout the course of her employment, Ms. FIORE found herself at the center of a hostile work

       environment as part of a scheme orchestrated by Defendant to unlawfully eliminate Plaintiff from

       her position.

 5.    Defendant’s unrelenting discrimination against Plaintiff culminated with her unlawful termination.

 6.    At bottom, Defendant is liable for subjecting Ms. FIORE to a work environment infested with

       relentless discrimination and for wrongfully terminating because of her age and disability, for

       interfering with her request for family medical leave, and for retaliating against Plaintiff for her

       complaints of discrimination and requests for family medical leave.


                                 JURISDICTION AND VENUE

 7.    This is an action for monetary damages and all other appropriate relief as deemed by the

       court, pursuant to ADA, the ADEA, and the FMLA.

 8.    This Court has jurisdiction of the claims herein pursuant to 28 U.S.C. §§ 1331 and 1343,

       as this action involves federal questions regarding deprivation of Plaintiff’s civil rights

       under ADA, ADEA, and FMLA.

 9.    Venue is proper in this district pursuant to 28 U.S.C. §1391(b) based upon the fact

       Defendant was located in this judicial district, and a substantial part of the events or

       omissions giving rise to this action, including the unlawful employment practices alleged

       herein occurred in this district. Plaintiff was employed by Defendant within Broward

       County. Additionally, the events took place in Broward County, Florida.


                                PROCEDURAL PREREQUISITES

 10.   Plaintiff has complied with all statutory prerequisites to file this action.
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 11.   On or about October 2, 2018, Plaintiff dual-filed charges with the Florida Commission on

       Human Relations (“FCHR”) and the Equal Employment Opportunity Commission

       (“EEOC”) against Defendant as set forth herein, Charge No. 210-2018-05824.

 12.   An EEOC filing automatically operates as a FCHR filing.

 13.   On or about January 26, 2021, the EEOC issued its determination finding reasonable cause

       that violations of the ADEA and ADA occurred.

 14.   Despite Plaintiff’s attempts to conciliate through the EEOC, on or about May 10, 2021, the

       EEOC issued Plaintiff a Notice of the Right to sue, and this action is being commenced.

 15.   This action is being commenced within ninety (90) days of receipt of the EEOC Right to

       Sue Letter.

                                               PARTIES

 16.   At all material times, Plaintiff FIORE is an individual female over the age of forty (YOB:

       1960) with qualifying disabilities (cancer, depression, post-traumatic stress disorder) who

       is a resident of the State of Florida and resides in Palm Beach County.

 17.   At all material times, Defendant HealthTrust is a Foreign Limited Liability Company

       duly existing by the virtue and laws of the State of Florida with offices in Broward

       County, Florida.

 18.   Defendant HealthTrust is an employer as defined by all laws under which this action is

       brought and employs the requisite number of employees.

 19.   At all material times, Defendant HealthTrust employed JOI CROCKETT (hereinafter

       referred to as “CROCKETT”) as a Travel Division Director.
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 20.   As of October 21, 2016, CROCKETT held supervisory authority over Plaintiff,

       controlling various tangible aspects of her employment, including but not limited to the

       power to hire and fire Ms. FIORE.

 21.   At all material times, Defendant HealthTrust employed SHERI ALBERT (hereinafter

       “ALBERT”) as Director of Human Resources.

            FACTUAL ALLEGATIONS COMMON TO ALL COMPLAINTS

 22.   Plaintiff is a disabled individual female over the age of 40 who suffers from cancer of

       the thyroid, depression, and Post-Traumatic Stress Disorder.

 23.   Thyroid cancer is a disease in which cancer cells form in the tissues of the thyroid and

       treatment often entails surgery, radioactive iodine, and radiation, among other therapies.

 24.   Depression is a mental health disorder characterized by persistent depressive mood or

       loss of interest in activities that causes significant impairment to daily life.

 25.   Post-Traumatic Stress Disorder is a psychiatric disorder that may occur in people who have

       experienced or witnesses a traumatic event. When “triggered,” symptoms may include, but

       are not limited to vivid flashbacks, shortness of breath, intrusive thoughts or images,

       nightmares, extreme alertness, and/or severe anxiety.

 26.   On or about August 16, 2015, Defendant hired Plaintiff as a “Associate Recruiter.”

 27.   In or around April 2016, Plaintiff was diagnosed with cancer of the thyroid. Plaintiff

       immediately informed CROCKETT and Defendant of her diagnosis and need for medical

       leave.

 28.   On or about May 10, 2016, Plaintiff underwent surgery to remove her thyroid in order

       to remove the cancer plaguing the tissue. As a result of this surgery, Plaintiff was placed

       on paid leave until on or about May 21, 2016.
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 29.   On or about May 21, 2016, Plaintiff returned to work from leave.

 30.   On or about June 30, 2016, Plaintiff received paid time off in order to attend a follow-

       up doctor’s appointment.

 31.   On or about July 19, 2016, Plaintiff was again granted the day off to attend a follow-up

       consultation.

 32.   On or about August 26, 2016, Plaintiff received paid leave to attend a consultation with

       her psychiatrist, as she was experiencing depressive symptoms and Post-Traumatic

       Stress Disorder. Plaintiff specifically informed CROCKETT and Defendant of her

       medical condition and was permitted to miss work to consult with her psychiatrist.

 33.   On or about September 19, 2016, Plaintiff received the day off to have a biopsy

       performed by her doctor to test the levels of cancerous cells in her body after her first

       operation. At this appointment, Plaintiff was informed that her cancer had spread to the

       lymph nodes in the surrounding tissue and that further treatment was required.

 34.   On or about each of the following dates, Plaintiff attended follow-up appointments

       and/or received further scanning and testing to identify further treatment options, and

       accordingly was placed on medical leave:

              (1) October 4, 2016,

              (2) October 6, 2016,

              (3) October 10, 2016,

              (4) November 1, 2016,

              (5) November 15, 2016,
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              (6) November 21, 2016,

              (7) December 13, 2016,

              (8) December 14, 2016, and

              (9) January 4, 2017.

 35.   Despite these medically necessary and approved absences, Plaintiff maintained a strong

       performance. In fact, on or about October 21, 2016, Defendant promoted Plaintiff to

       “Travel Recruiter.”

 36.   As a Travel Recruiter, Plaintiff placed traveling nurses with various placements at

       medical sites throughout the United States. In this role, Plaintiff and other Travel

       Recruiters were expected to meet quotas and various productivity goals. However, it is

       unknown if each Travel Recruiter was subject to the same quantitative quotas and goals.

 37.   On or about February 6, 2017, Plaintiff underwent her second surgical operation to

       remove the cancer that had spread throughout her upper neck.

 38.   As a result of the surgery on February 6, 2017, Plaintiff was placed on medical leave

       through on or about February 20, 2017.

 39.   On or about February 20, 2017, Plaintiff returned to work.

 40.   On or about March 14, 2017, Plaintiff attended a post-operation follow up appointment

       after receiving approval to take the day off work. Plaintiff learned she would require a a

       radioactive iodine treatment in the coming weeks.

 41.   On or about April 3, 2017, Plaintiff underwent a radioactive iodine treatment to further

       neutralize the cancer’s growth in a treatment that again required her to miss work.
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 42.   On or about April 17, 2017, and April 26, 2017, Plaintiff received medical leave to

       attend follow-up appointments regarding the radioactive iodine treatment.

 43.   On or about April 28, 2017, Plaintiff received approved leave in order to consult with

       her psychiatrist about her worsening mental health condition.

 44.   Despite the health challenges, Plaintiff’s performance remained proficient. In fact, in or

       around May 2017, CROCKETT, Plaintiff’s immediate supervisor, issued Plaintiff a

       positive performance review wherein CROCKETT evaluated Plaintiff’s performance as

       meeting “most/all expectations.”

 45.   On or about May 2, 2017, Plaintiff attended an appointment with her doctor where she

       learned she would require a radiation treatment to prevent the cancer from spreading

       further.

 46.   As part of the radiation treatment, on or about May 16, 2017, and May 17, 2017, Plaintiff

       was approved for and took medical leave to receive pre-radiation injections in order to

       prepare for the radiation treatment.

 47.   From May 17, 2017, until May 20, 2017, Plaintiff underwent radiation treatment. On

       each of these dates, Plaintiff was required to take leave from work.

 48.   Due to the danger that high levels of radiation in the body post-radiation treatment poses

       to bystanders, Plaintiff was placed on leave through May 29, 2017 and instructed to

       avoid physical contact with anyone.

 49.   On or about May 29, 2017, Plaintiff returned to work.
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 50.   On or about July 7, 2017, just six weeks after Plaintiff’s return from medical leave and

       two months after issuing Plaintiff a positive performance evaluation, CROCKETT

       issued Plaintiff a verbal warning, citing Plaintiff’s failure to meet her required

       productivity goals.

 51.   In response, Plaintiff complained to CROCKETT that the verbal warning failed to

       consider Plaintiff’s extensive medical absences and specifically stated that she felt

       receiving disciplinary action based on her medical needs amounted to disability

       discrimination. Plaintiff also pointed out that CROCKETT herself had issued her a

       positive performance evaluation just two months earlier.

 52.   In turn, CROCKETT ignored Plaintiff’s complaints and formally issued the verbal

       warning.

 53.   Upon information and belief, Plaintiff’s non-disabled colleagues of the same title did not

       receive disciplinary action, verbal or written, informal or formal, regarding productivity

       goals and quotas despite failing to meet same.

 54.   Around this time, CROCKETT began making repeated offensive and derogatory

       references to Plaintiff’s age and disability.

 55.   For example, and not meant to be an exhaustive list, CROCKETT openly commented to

       Plaintiff’s colleagues that Plaintiff was “too old to do this job,” “too slow,” and stated

       that “[Plaintiff] is never here.”

 56.   By further means of example, and not meant to be an exhaustive list, CROCKETT

       commented to Plaintiff’s colleagues that Plaintiff is “sick all of a sudden” and

       referenced Plaintiff’s need to maintain her health because of her age.
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 57.   On at least one occasion, CROCKETT referred to Plaintiff in front of her colleagues as

       “stupid” and “hopefully not returning [from medical leave].” Such comments

       occurred in the context of CROCKETT’s repeated and open declarations of needing to

       hire “new, brighter” employees within her department.

 58.   Consequently, Plaintiff complained to ALBERT, Director of Human Resources,

       regarding the verbal warning, complaining of disability and age discrimination

       stemming from CROCKETT’s decision to issue Plaintiff a verbal warning. ALBERT

       assured Plaintiff that she would investigate and take corrective action. Nevertheless,

       upon information and belief, no action was taken by the Human Resources Department

       to investigate Plaintiff’s complaints of discrimination.

 59.   In the interim, CROCKETT continued to make routine and repeated offensive comments

       to Plaintiff’s coworkers based on Plaintiff’s age and disability.

 60.   On or about November 7, 2017, CROCKETT issued Plaintiff a final written warning

       citing her continued failure to meet productivity goals and quotas.

 61.   In response, Plaintiff renewed her complaints of discrimination to CROCKETT and

       Human Resources to no avail.

 62.   On or about November 15, 2017, Plaintiff’s father required sudden and unexpected

       medical care that required Plaintiff to supervise his condition all day and night.

       Accordingly, on this date, Plaintiff requested to be placed on family medical leave from

       CROCKETT. CROCKETT instructed Plaintiff to acquire medical documentation to

       substantiate her need for family medical leave.
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  63.   On or about November 20, 2017, Plaintiff submitted her formal request for family

        medical leave with the accompanying medical documentation as requested by

        CROCKETT.

  64.   On or about December 6, 2017, Defendant contacted Plaintiff to request further

        documentation to process Plaintiff’s request for family medical leave. Plaintiff

        immediately completed and provided Defendant with the required paperwork, and

        Defendant informed Plaintiff that a decision regarding her request would be reached by

        December 12, 2017.

  65.   On or about December 11, 2017, CROCKETT and ALBERT summoned Plaintiff to the

        Human Resources conference room wherein Plaintiff was notified of her termination.

  66.   Defendant HealthTrust wrongfully and unlawfully terminated Ms. FIORE because of her

        disability, her age, and her request for family medical leave, and in retaliation for her

        complaints of discrimination and requests for family medical leave.

  67.   The aforementioned facts are just some of the examples of the discrimination Ms. FIORE

        suffered.

  68.   Additionally, Ms. FIORE claims a continuous practice of discrimination and continuing

        violations and makes all claims herein under the continuing violations doctrine.

  69.   Defendant has established a pattern and practice of not only discrimination but also

        retaliation.

  70.   As a result of the acts and conduct complained of, Ms. FIORE has suffered and will

        continue to suffer loss of income, loss of salary, bonuses, benefits, and other compensation

        which such employment entails.        Ms. FIORE also suffered future pecuniary losses,
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        emotional pain, humiliation, suffering, inconvenience, loss of enjoyment of life, and other

        non-pecuniary losses.

  71.   As a result of the events described herein, Ms. FIORE suffers from increased depression,

        stress, and anxiety. Similarly, Ms. FIORE has trouble sleeping as a result of Defendant’s

        conduct.

  72.   Further, as a result of Defendant’s unlawful employment practices, Ms. FIORE felt

        extremely humiliated, degraded, victimized, embarrassed and emotionally distressed.

  73.   As Defendant’s conduct has been malicious, willful, extreme and outrageous, and with full

        knowledge of the law, Plaintiff respectfully seeks all available damages including but not

        limited to emotional distress, loss wages, back pay, front pay, statutory damages, attorney’s

        fees, costs, interest and punitive damages from all Defendants jointly and severally.

  74.   Defendant’s actions and conduct were intentional and intended to harm Ms. FIORE.

  75.   Ms. FIORE has presented factual allegations that would permit any reasonable jury to

        award damages.

  76.   At bottom, Defendant is liable for their reckless disregard for Ms. FIORE’s personal

        dignity and her civil right to pursue equal employment opportunity.

  77.   Ms. FIORE has suffered damages as a result of Defendant’s unlawful employment

        practices.

                                COUNT ONE-
             DISABILITY DISCRIMINATION IN VIOLATION OF THE ADA

  78.   Plaintiff realleges and incorporates by reference each allegation contained in the

        previous paragraphs, and further alleges as follows.

  79.   The ADA makes it unlawful for an employer to discriminate against an employee based

        on that person’s disability. 42 U.S.C. §12112.
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  80.   42 U.S.C. §12112(a) provides that “No covered entity shall discriminate against a qualified

        individual on the basis of disability in regard to job application procedures, the hiring,

        advancement, or discharge of employees, employee compensation, job training, and other

        terms, conditions, and privileges of employment.”

  81.   Further, 42 U.S.C. §12112(b)(4) provides that “excluding or otherwise denying equal jobs

        or benefits to a qualified individual because of the known disability of an individual with

        whom the qualified individual is known to have a relationship or association” is a

        prohibited form of discrimination.

  82.   Defendant is prohibited under the ADA from discriminating against Plaintiff because of

        her disabilities with regard to discharge, employee compensation, and other terms,

        conditions, and privileges of employment.

  83.   Plaintiff is a person with qualifying disabilities under the ADA.

  84.   Defendant’s adverse and disparate treatment of Plaintiff to which Plaintiff was subjected

        as described and set forth above, including her termination of employment, was because of

        Plaintiff’s disabilities (cancer, depression).

  85.   In subjecting Plaintiff to adverse employment action on the basis of her disabilities,

        Defendant intentionally discriminated against Plaintiff with respect to the compensation,

        terms, conditions, or privileges of her employment.

  86.   At all times relevant, Defendant, by and through its employees, intended to unlawfully

        discriminate against Plaintiff FIORE in the terms and conditions of her employment

        because of her disabilities, and Defendant did unlawfully discriminate against Plaintiff in

        the terms and privileges of her employment because of her disabilities in violation of the

        ADA.
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  87.      Defendant violated the ADA by unlawfully discharging and discriminating against Plaintiff

           based her disabilities, of which the Defendant was fully aware of.

  88.      As a result of Defendant’s intentional discriminatory conduct and termination of Plaintiff’s

           employment in violation of the ADA, Plaintiff FIORE has suffered and will continue to

           suffer financial and economic damages in the form of lost wages (front and back pay) and

           lost benefits. Plaintiff has also suffered and will continue to suffer emotional distress,

           mental anguish, loss of dignity, and other intangible damages. Plaintiff accordingly

           demands lost economic damages, lost wages, back pay, interest, front pay, the value and/or

           economic impact of lost benefits, and compensatory damages.

  89.      Defendant’s actions were knowing, intentional, willful, malicious, and in reckless disregard

           of Plaintiff’s rights under the ADA. Accordingly, Plaintiff also requests punitive damages

           as authorized by the ADA.

  90.      Plaintiff further requests that her attorney’s fees and costs be awarded as permitted by law.

  91.      Conduct of Defendant and/or its agents deprived Plaintiff of her statutory rights guaranteed

           under federal law.

  92.      Plaintiff FIORE has been damaged by Defendant’s illegal conduct.

  WHEREFORE, Plaintiff respectfully prays for the following relief against Defendant:

        a. Adjudge and decree that Defendant has violated the ADA, and has done so willfully,

           intentionally, and with reckless disregard for Plaintiff’s rights;

        b. Enter a judgment requiring that Defendant pay Plaintiff appropriate lost wages,

           employment benefits, and prejudgment interest at amounts to be proved at trial for the

           unlawful employment practices described herein;
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        c. Enter a judgment requiring that Defendant pay to Plaintiff, in an amount to be determined

           at the time of trial plus interest, all emotional distress and economic damages, pain and

           suffering, loss of reputation, punitive damages, liquidated damages, and other pecuniary

           and non-pecuniary losses.

        d. Award Plaintiff the costs of this action, together with reasonable attorneys ’fees and

           disbursements of action;

        e. Grant Plaintiff such additional relief as the Court deems just and proper under the

           circumstances.

                                       COUNT TWO-
                            RETALIATION IN VIOLATION OF THE ADA

  93.      Plaintiff realleges and incorporates by reference each allegation contained in the previous

           paragraphs, and further alleges as follows.

  94.      Defendant HealthTrust discriminated against Plaintiff FIORE due to her disability in

           making multiple employment related decisions.

  95.      The ADA (29 U.S.C. §12203(a)) provides that “[n]o person shall discriminate against

           any individual because such individual has opposed any act or practice made unlawful by

           this chapter or because such individual made a charge, testified, assisted, or participated

           in any manner in an investigation, proceeding, or hearing under this chapter.”

  96.       At all times relevant, Plaintiff acted in good faith and with the objective and subjective

           belief that violations of the ADA by Defendant HealthTrust’s employees had occurred.

  97.      At all times relevant, the unlawful discrimination by Defendant’s employees against

           Plaintiff in the terms and conditions of her employment because she opposed a practice

           made unlawful by the ADA.
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  98.      At all material times, the employer exhibiting discriminatory conduct against Plaintiff

           FIORE possessed the authority to affect the terms, conditions and privileges of Plaintiff’s

           employment with the Defendant.

  99.      Defendant intentionally retaliated against Plaintiff by discharging her for complaining of

           actions by Defendant made unlawful under the ADA.

  100.     Plaintiff’s termination constitutes a materially adverse employment action under the ADA.

  101.     There is a causal connection between Plaintiff’s complaints of discrimination and her

           termination.

  102.     Conduct of Defendant and/or its agents deprived Plaintiff of her statutory rights guaranteed

           under federal law.

  103.     Plaintiff FIORE has been damaged by the illegal conduct of Defendants.

  WHEREFORE, Plaintiff respectfully prays for the following relief against Defendant:

        a. Adjudge and decree that Defendant has violated the ADA, and has done so willfully,

           intentionally, and with reckless disregard for Plaintiff’s rights;

        b. Enter a judgment requiring that Defendant pay Plaintiff appropriate lost wages,

           employment benefits, and prejudgment interest at amounts to be proved at trial for the

           unlawful employment practices described herein;

        c. Enter a judgment requiring that Defendant pay to Plaintiff, in an amount to be determined

           at the time of trial plus interest, all emotional distress and economic damages, pain and

           suffering, loss of reputation, punitive damages, liquidated damages, and other pecuniary

           and non-pecuniary losses.

        d. Award Plaintiff the costs of this action, together with reasonable attorneys ’fees and

           disbursements of action;
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     e. Grant Plaintiff such additional relief as the Court deems just and proper under the

         circumstances.

                                 COUNT THREE-
                  AGE DISCRIMINATION IN VIOLATION OF THE ADEA

  104.   Plaintiff realleges and incorporates by reference each allegation contained in the

         previous paragraphs, and further alleges as follows.

  105.   This is an action to recover all damages, interest, equitable relief and attorney’s fees and

         costs on behalf of Plaintiff for violations of her federal rights under the ADEA, to include

         the remedies in 29 U.S.C. §621 et seq.

  106.   The ADEA (29 U.S.C. 626) provides that it shall be unlawful for an employer-

            “(1) to fail or refuse to hire or to discharge any individual or otherwise discriminate

            against any individual with respect to their compensation, terms, conditions, or

            privileges of employment, because of such individual’s age;

            (2) to limit, segregate, or classify their employees in any way which would deprive or

            tend to deprive any individual of employment opportunities or otherwise adversely

            affect his status as an employee, because of such individual’s age.”

  107.   Defendant HealthTrust is prohibited under the ADEA from discriminating against Plaintiff

         FIORE because of her age with regard to discharge, employee compensation, and other

         terms, conditions, and privileges of employment.

  108.   Plaintiff FIORE is a sixty-one (61) year-old individual female and is protected against

         discrimination under the ADEA.

  109.   Defendant HealthTrust’s employees targeted Plaintiff with discriminatory conduct based

         on Plaintiff’s age, asserting that Plaintiff was unable to do her work due to her age and

         favoring younger employees in the terms and conditions of their employment.
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  110.   Defendant treated Plaintiff FIORE less favorably than similarly situated employees outside

         the protected class.

  111.   Defendant engaged in adverse employment actions against Plaintiff, including but not

         limited to, issuing her disciplinary action for failing to meet her productivity goals despite

         failing to discipline her younger counterparts for their failures to meet productivity goals,

         and wrongfully terminating Plaintiff.

  112.   Conduct of Defendant and/or its agents deprived Plaintiff of her statutory rights guaranteed

         under federal law.

  113.   Plaintiff FIORE has been damaged by the illegal conduct of Defendants.

  WHEREFORE, Plaintiff respectfully prays for the following relief against Defendant:

     a. Adjudge and decree that Defendant has violated the ADEA, and has done so willfully,

         intentionally, and with reckless disregard for Plaintiff’s rights;

     b. Enter a judgment requiring that Defendant pay Plaintiff appropriate lost wages,

         employment benefits, and prejudgment interest at amounts to be proved at trial for the

         unlawful employment practices described herein;

     c. Enter a judgment requiring that Defendant pay to Plaintiff, in an amount to be determined

         at the time of trial plus interest, all emotional distress and economic damages, pain and

         suffering, loss of reputation, punitive damages, liquidated damages, and other pecuniary

         and non-pecuniary losses.

     d. Award Plaintiff the costs of this action, together with reasonable attorneys ’fees and

         disbursements of action;

     e. Grant Plaintiff such additional relief as the Court deems just and proper under the

         circumstances.
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                                   COUNT FOUR-
                        RETALIATION IN VIOLATION OF THE ADEA

  114.   Plaintiff realleges and incorporates by reference each allegation contained in the

         previous paragraphs, and further alleges as follows.

  115.   Defendant HealthTrust discriminated against Plaintiff FIORE due to her age in making

         multiple employment related decisions.

  116.   The ADEA (29 U.S.C. 623(d)) provides that “it shall be unlawful for an employer to

         discriminate against any of his employees or applicants for employment, for an

         employment agency to discriminate against any individual, or for a labor organization to

         discriminate against any member thereof or applicant for membership, because such

         individual, member or applicant for membership has opposed any practice made unlawful

         by this section, or because such individual, member or applicant for membership has

         made a charge, testified, assisted, or participated in any manner in an investigation,

         proceeding, or litigation under this chapter.”

  117.   At all times relevant, Plaintiff FIORE acted in good faith and with the objective and

         subjective belief that violations of the ADEA by Defendant HealthTrust’s employees had

         occurred.

  118.   At all times relevant, the unlawful discrimination by Defendant’s employees against

         Plaintiff in the terms and conditions of her employment because she opposed a practice

         made unlawful by the ADEA which would not have occurred but for that opposition.

  119.   At all material times, the employer exhibiting discriminatory conduct against Plaintiff

         FIORE possessed the authority to affect the terms, conditions and privileges of Plaintiff’s

         employment with the Defendant.
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  120.   Defendant intentionally retaliated against Plaintiff by discharging her for complaining of

         actions by Defendant made unlawful under the ADEA.

  121.   Plaintiff’s termination constitutes a materially adverse employment action under the

         ADEA.

  122.   There is a causal connection between Plaintiff’s complaints of discrimination and her

         termination.

  123.   Conduct of Defendant and/or its agents deprived Plaintiff of her statutory rights guaranteed

         under federal law.

  124.   Plaintiff FIORE has been damaged by the illegal conduct of Defendant.

  WHEREFORE, Plaintiff respectfully prays for the following relief against Defendant:

     a. Adjudge and decree that Defendant has violated the ADEA, and has done so willfully,

         intentionally, and with reckless disregard for Plaintiff’s rights;

     b. Enter a judgment requiring that Defendant pay Plaintiff appropriate lost wages,

         employment benefits, and prejudgment interest at amounts to be proved at trial for the

         unlawful employment practices described herein;

     c. Enter a judgment requiring that Defendant pay to Plaintiff, in an amount to be determined

         at the time of trial plus interest, all emotional distress and economic damages, pain and

         suffering, loss of reputation, punitive damages, liquidated damages, and other pecuniary

         and non-pecuniary losses.

     d. Award Plaintiff the costs of this action, together with reasonable attorneys ’fees and

         disbursements of action;

     e. Grant Plaintiff such additional relief as the Court deems just and proper under the

         circumstances.
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                                 COUNT FIVE-
                  UNLAWFUL INTERFERENCE IN VIOLATION OF FMLA

  125.   Plaintiff realleges and incorporates by reference each allegation contained in the

         previous paragraphs, and further alleges as follows.

  126.   Defendant HealthTrust unlawfully interfered with Plaintiff FIORE’s right to family

         medical leave under the FMLA.

  127.   By nature of Plaintiff’s employment with Defendant, Plaintiff was an employee covered

         by the FMLA and Defendant HealthTrust was subject to the FMLA’s regulations.

  128.   The FMLA (29 C.F.R. § 825.220(a)) provides: “The FMLA prohibits interference with

         an employee's rights under the law, and with legal proceedings or inquiries relating to an

         employee's rights. More specifically, the law contains the following employee

         protections:

             (1) An employer is prohibited from interfering with, restraining, or denying the

             exercise of (or attempts to exercise) any rights provided by the Act.

             (2) An employer is prohibited from discharging or in any other way discriminating

             against any person (whether or not an employee) for opposing or complaining about

             any unlawful practice under the Act…”

  129.   Defendant HealthTrust is prohibited under the FMLA from unlawfully interfering with

         Plaintiff’s exercise of her rights to family medical leave to serve as a caregiver to her qualifying

         relative, namely her father.

  130.   Defendant HealthTrust violated the FMLA and failed to provide Plaintiff the benefits to which

         she was entitled under the FMLA when it unlawfully interfered with Plaintiff’s right to family

         medical leave by failing to provide Plaintiff with her requested family medical leave despite

         receiving all required paperwork from Plaintiff.
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  131.   Plaintiff FIORE qualified for family medical leave by nature of her three-year long employment

         with Defendant and her father’s qualifying medical condition that required her caregiving

         services.

  132.   By nature of Plaintiff’s requests and exchange of FMLA forms and paperwork on November 14,

         2017, November 15, 2017, November 20, 2017, and December 6, 2017, Plaintiff FIORE

         provided Defendant with adequate notice of her intention to take leave pursuant to the FMLA.

  133.   Conduct of Defendant and/or its agents deprived Plaintiff of her statutory rights guaranteed

         under federal law.

  134.   Plaintiff FIORE has been damaged by the illegal conduct of Defendants.

  WHEREFORE, Plaintiff respectfully prays for the following relief against Defendant:

     a. Adjudge and decree that Defendant has violated the FMLA, and has done so willfully,

         intentionally, and with reckless disregard for Plaintiff’s rights;

     b. Enter a judgment requiring that Defendant pay Plaintiff appropriate lost wages,

         employment benefits, and prejudgment interest at amounts to be proved at trial for the

         unlawful employment practices described herein;

     c. Enter a judgment requiring that Defendant pay to Plaintiff, in an amount to be determined

         at the time of trial plus interest, all emotional distress and economic damages, pain and

         suffering, loss of reputation, punitive damages, liquidated damages, and other pecuniary

         and non-pecuniary losses.

     d. Award Plaintiff the costs of this action, together with reasonable attorneys ’fees and

         disbursements of action;

     e. Grant Plaintiff such additional relief as the Court deems just and proper under the

         circumstances.
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                                    COUNT SIX-
                       RETALIATION IN VIOLATION OF THE FMLA

  135.   Plaintiff realleges and incorporates by reference each allegation contained in the

         previous paragraphs, and further alleges as follows.

  136.   Defendant HealthTrust unlawfully interfered with Plaintiff FIORE’s rights under the

         FMLA.

  137.   The FMLA (29 C.F.R. § 825.220(3)) provides that “All persons (whether or not

         employers) are prohibited from discharging or in any other way discriminating against

         any person (whether or not an employee) because that person has—

                (i) Filed any charge, or has instituted (or caused to be instituted) any proceeding

                under or related to this Act;

                (ii) Given, or is about to give, any information in connection with an inquiry or

                proceeding relating to a right under this Act;

                (iii) Testified, or is about to testify, in any inquiry or proceeding relating to a right

                under this Act…”

  138.   At all times relevant, Plaintiff FIORE acted in good faith and with the objective and

         subjective belief that violations of the FMLA by Defendant HealthTrust’s employees had

         occurred.

  139.   At all times relevant, the unlawful interference by Defendant’s employees with Plaintiff’s

         rights and benefits under the FMLA occurred because she opposed a practice made

         unlawful by the FMLA which would not have occurred but for that opposition.

  140.   Defendant intentionally retaliated against Plaintiff by discharging her for requesting family

         medical leave pursuant to the FMLA.
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  141.   Plaintiff’s termination constitutes a materially adverse employment action under the

         FMLA.

  142.   There is a causal connection between Plaintiff’s request for family medical leave and her

         termination.

  143.   Conduct of Defendant and/or its agents deprived Plaintiff of her statutory rights guaranteed

         under federal law.

  144.   Plaintiff FIORE has been damaged by the illegal conduct of Defendant.

  WHEREFORE, Plaintiff respectfully prays for the following relief against Defendant:

     a. Adjudge and decree that Defendant has violated the FMLA, and has done so willfully,

         intentionally, and with reckless disregard for Plaintiff’s rights;

     b. Enter a judgment requiring that Defendant pay Plaintiff appropriate lost wages,

         employment benefits, and prejudgment interest at amounts to be proved at trial for the

         unlawful employment practices described herein;

     c. Enter a judgment requiring that Defendant pay to Plaintiff, in an amount to be determined

         at the time of trial plus interest, all emotional distress and economic damages, pain and

         suffering, loss of reputation, punitive damages, liquidated damages, and other pecuniary

         and non-pecuniary losses.

     d. Award Plaintiff the costs of this action, together with reasonable attorneys ’fees and

         disbursements of action;

     e. Grant Plaintiff such additional relief as the Court deems just and proper under the

         circumstances.
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                                        PRAYER FOR RELIEF

         WHEREFORE, Plaintiff demands judgment against Defendant in an amount to be

  determined at the time of trial plus interest, including but not limited to all emotional distress and

  economic damages, punitive damages, liquidated damages, attorney’s fees, costs, and

  disbursements of action; and for such other relief as the Court deems just and proper.


                                  DEMAND FOR JURY DEMAND

         Plaintiff requests a jury trial on all issues to be tried.


  Dated: Miami, Florida
         August 5, 2021
                                                           Respectfully submitted,

                                                           DEREK SMITH LAW GROUP, PLLC
                                                           Attorneys for Plaintiff


                                                         /s/_______________________
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